     Case 5:22-cv-00094-JWH-SHK Document 71 Filed 02/10/22 Page 1 of 3 Page ID #:821




 1    HEIDI K. WILLIAMS (CA State Bar No. 297428)
      Deputy County Counsel
 2    TOM BUNTON (CA State Bar No. 193560)
      County Counsel
 3    385 North Arrowhead Avenue, Fourth Floor
      San Bernardino, California 92415-0140
 4    Telephone: (909) 387-4402
      Facsimile: (909) 387-4069
 5    E-Mail: heidi.williams@cc.sbcounty.gov
 6    Attorneys for Defendant Shannon D. Dicus, San Bernardino County Sheriff-Coroner, in
      his official capacity
 7

 8
                                UNITED STATES DISTRICT COURT
 9
                               CENTRAL DISTRICT OF CALIFORNIA
10

11     EMPYREAL ENTERPRISES, LLC,                Case No. 5:22-cv-00094-JWH-SHK
       d/b/a EMPYREAL LOGISTICS
12                                               STIPULATION TO EXTEND TIME TO
                                                 RESPOND TO COMPLAINT BY NOT
13                                               MORE THAN 30 DAYS
                         Plaintiff,
14                                               [L.R. 8-3]
15                                               Complaint Served:      January 24, 2022
                          v.                     Current Response Date: February 14, 2022
16                                               New Response Date:     March 16, 2022
17     The United States of America; the
       U.S. Department of Justice; Attorney      Honorable District Court Judge
18     General MERRICK GARLAND, in               John W. Holcomb
19     his official capacity; the Federal        Honorable Magistrate Judge
       Bureau of Investigation;                  Shashi H. Kewalramani
20     CHRISTOPHER A. WRAY, Director
21     of the Federal Bureau of Investigation,
       in his official capacity; KRISTI
22     KOONS JOHNSON, Assistant
23     Director of the Federal Bureau of
       Investigation overseeing the FBI’s Los
24     Angeles Field Office, in her official
25     capacity; the Drug Enforcement
       Administration; ANNE MILGRAM,
26     Administrator of the Drug
27     Enforcement Administration, in her
       official capacity; SHANNON D.
28
                                            1
              STIPULATION TO EXTEND TIME TO RESPOND NOT MORE THAN 30 DAYS
     Case 5:22-cv-00094-JWH-SHK Document 71 Filed 02/10/22 Page 2 of 3 Page ID #:822




 1     DICUS, San Bernardino County
 2
       Sheriff-Coroner, in his official
       capacity as the head of the San
 3     Bernardino County Sheriff’s Office.
 4
                         Defendants.
 5

 6

 7

 8          Plaintiff EMPYREAL ENTERPRISES, LLC d/b/a EMPYREAL LOGISTICS and
 9    Defendant SHANNON D. DICUS, San Bernardino County Sheriff-Coroner, in his official
10    capacity, by and through their counsel of record, hereby stipulate that Defendant
11    SHANNON D. DICUS shall have until March 16, 2022 to respond to Plaintiff’s Complaint
12    for Declaratory and Injunctive Relief. Sheriff Dicus was served on January 24, 2022 and
13    therefore the responsive pleading prior to the stipulation is due on February 14, 2022.
14          Although the parties have corresponded regarding the legal basis for the pleadings,
15    they have not had a meaningful opportunity to conclude meet and confer efforts by
16    telephone.
17          In the interest of completing a meaningful meet and confer process, the parties
18    stipulate that the deadline for Defendant SHANNON D. DICUS to respond to the
19    Complaint is extended to March 16, 2022. The parties stipulate and agree that Defendant
20    SHANNON D. DICUS retains the right to respond via motion pursuant to Rule 12(b) of
21    Federal Rules of Civil Procedure on or before the extended date.
22    //
23    //
24

25

26

27

28
                                            2
              STIPULATION TO EXTEND TIME TO RESPOND NOT MORE THAN 30 DAYS
     Case 5:22-cv-00094-JWH-SHK Document 71 Filed 02/10/22 Page 3 of 3 Page ID #:823




 1          Because this request would extend the time to respond for not more than thirty
 2    days, no court approval is required pursuant to Local Rule 8-3.
 3          SO STIPULATED.
 4

 5    DATED: February 9, 2022                 Respectfully submitted,
 6                                            KOELLER, NEBEKER, CARLSON & HALUCK
 7

 8
                                              /s/ David C. Bass
                                              DAVID C. BASS
 9                                            Attorneys for Plaintiff Empyreal Enterprises, LLC
10

11

12    DATED: February 10, 2022                Respectfully submitted,
13                                            TOM BUNTON
14
                                              County Counsel

15                                            /s/ Heidi K. Williams
16                                            HEIDI K. WILLIAMS
                                              Deputy County Counsel
17                                            Attorneys for Defendant
18
                                              Shannon D. Dicus, San Bernardino County
                                              Sheriff-Coroner, in his official capacity
19

20          I certify that all other signatories listed, and on whose behalf the filing is submitted,
21    concur in the filing’s content and have authorized the filing.
22                                             /s/ Heidi K. Williams
                                               HEIDI K. WILLIAMS
23

24

25

26

27

28
                                            3
              STIPULATION TO EXTEND TIME TO RESPOND NOT MORE THAN 30 DAYS
